                                                                  Case 2:23-bk-10990-NB Doc 1126-1 Filed 06/09/25 Entered 06/09/25 11:20:41
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                                                                   9                                  UNITED STATES BANKRUPTCY COURT

                                                                  10                                  CENTRAL DISTRICT OF CALIFORNIA
                                                                                                           LOS ANGELES DIVISION
                                                                  11
                                                                        In re                                      Case No.: 2:23-bk-10990-NB
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12                                               Chapter 11
                                                                        LESLIE KLEIN,
                                                                  13                                               CERTIFICATE OF SERVICE
                                        LOS ANGELES, CALIFORNIA
                                           ATTORNEYS AT LAW




                                                                                            Debtor.
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                                                                   1                                   PROOF OF SERVICE OF DOCUMENT
                                                                   2 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
                                                                       address is:
                                                                   3                                One Sansome Street, Suite 3430, San Francisco, CA 94105.

                                                                   4 A true and correct copy of the foregoing document entitled (specify):

                                                                   5 •           REPLY OF CHAPTER 11 TRUSTEE TO SUPPLEMENTAL DECLARATION OF DANIEL A.
                                                                                 CRAWFORD IN OPPOSITION TO REQUEST FOR SANCTIONS AWARD -ATTORNEY FEE
                                                                   6             RATES

                                                                   7 is served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
                                                                       and (b) in the manner stated below:
                                                                   8
                                                                       1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
                                                                   9 controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
                                                                       hyperlink to the document. On (date) June 9, 2025, I checked the CM/ECF docket for this bankruptcy case
                                                                  10 or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
                                                                       receive NEF transmission at the email addresses stated below:
                                                                  11
                                                                                                                                     Service information continued on attached page
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                       2. SERVED BY UNITED STATES MAIL: On (date) June 9, 2025, I served the following persons and/or
                                                                  13 entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and
                                        LOS ANGELES, CALIFORNIA
                                           ATTORNEYS AT LAW




                                                                       correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
                                                                  14 addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
                                                                       completed no later than 24 hours after the document is filed.
                                                                  15
                                                                                                                                     Service information continued on attached page
                                                                  16
                                                                       3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
                                                                  17 (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
                                                                       June 9, 2025, I served the following persons and/or entities by personal delivery, overnight mail service, or
                                                                  18 (for those who consented in writing to such service method), by facsimile transmission and/or email as
                                                                       follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
                                                                  19 judge will be completed no later than 24 hours after the document is filed.

                                                                  20       Via Email:                                              Via Email:
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                                                                  23
                                                                                                                                     Service information continued on attached page
                                                                  24
                                                                       I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
                                                                  25
                                                                          June 9, 2025                         Oliver Carpio                   /s/ Oliver Carpio
                                                                  26      Date                                 Printed Name                    Signature

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                                                                   1 2. SERVED BY U.S. MAIL:

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